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1                                                                              The Honorable Tana Lin
                                                                             United States District Judge
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6                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
7                                        AT SEATTLE

8    KURT A. BENSHOOF, and BRIANA D. GAGE,                  )
                                                            )     No. 2:24-cv-00343-TL
9                                    Plaintiffs,            )
          v.                                                )     DECLARATION OF ANN
10                                                          )     SUMMERS IN SUPPORT OF
     CITY OF SHORELINE, KING COUNTY,                        )     SHORELINE AND KING COUNTY
11   TOWN & COUNTRY MARKETS, EVAN B.                        )     DEFENDANT’S MOTION TO
     FAGAN, WILLIAM C. AKERS and MR.                        )     DISMISS PURSUANT TO
12   THOMPSON,                                              )     FRCP 12 ( c )
                                                            )
13                                   Defendants.            )
                                                            )
14
          I, Ann Summers, declare as follows:
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         1. I am over the age of 18 and I am competent to testify as to the matters stated herein. I
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               am the representing the Plaintiffs in this case.
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         2. Attached as Exhibits A is a true and correct copy of the City of Shoreline Police Trespass
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               Program Criminal Trespass Order/Admonishment issued to Kurt Benshoof on April 9,
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               2021.
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         3. I am aware of this Court’s standing order that requires parties to make a meaningful
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               effort to confer prior to filing a motion. In my email communications with Benshoof in
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               this matter, he has accused me of various crimes, including fraud and misappropriation
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               of public funds, and has been extremely disrespectful. Ex. C; Dkt. 25. Benshoof has a

                                                                          Leesa Manion (she/her)
     DECLARATION OF SUMMERS RE: MOTION TO                                 Prosecuting Attorney
     DISMISS [No. 3:24-cv-00343-TL] - 1                                   CIVIL DIVISION, Litigation Section
                                                                          701 5th Avenue, Suite 600
                                                                          Seattle, Washington 98104
                                                                          (206) 477-1120 Fax (206) 296-0191
             Case 2:24-cv-00343-TL Document 60 Filed 08/30/24 Page 2 of 4




1           history of harassing behavior toward attorneys and judges. See Benshoof et al. v. Admon

2           et al., 2:23-cv-1392-JNW, Benshoof v. Keenan, 2:23-cv-00751-RAJ, Benshoof v.

3           Keenan, 2:24-cv-00382-JNW, and Benshoof v. Ferguson, 2:24-cv-00808-JHC. In light

4           of these facts, I believe that there is no possibility of meaningfully conferring with

5           Benshoof on the present motion, and did not attempt to do so. At the time of this filing

6           Benshoof was incarcerated in the King County Jail pending multiple criminal charges.

7         I declare under penalty of perjury under the laws of the United States of America and the

8         State of Washington that the foregoing is true and correct.

9                Signed this 30th day of August, 2024 at Seattle, Washington.

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11                                              ANN M. SUMMERS

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                                                                        Leesa Manion (she/her)
     DECLARATION OF SUMMERS RE: MOTION TO                               Prosecuting Attorney
     DISMISS [No. 3:24-cv-00343-TL] - 2                                 CIVIL DIVISION, Litigation Section
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           Exhibit A
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